Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 1 of 14 Page ID #:752



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 8
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 9 ARYA TOUFANIAN

10
                             UNITED STATES DISTRICT COURT
11
                 CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
12

13
     ARYA TOUFANIAN, an individual,              Case No. 2:19−cv−07934−DMG(SSx)
14
            Plaintiff,                           Assigned to the Hon. Dolly M. Gee
15
                                                 Courtroom 8C
16          v.
17
                                                 JOINT FEDERAL RULE OF CIVIL
     KYLE OREFFICE, an individual; GIVE          PROCEDURE 26(f) REPORT AND
18   BACK MEDIA, LLC, a Georgia limited          DISCOVERY PLAN
19
     liability company; and DOES 1-10,
                                                 Scheduling Conference: Sept. 24, 2021 at
20                                               9:30 a.m.
            Defendants.
21
                                                 Action filed: Sept. 12, 2019

22

23
           Plaintiff Arya Toufanian and Defendants Kyle Oreffice and Give Back Media,
24
     LLC submit this Joint Federal Rule of Civil Procedure 26(f) Report and Discovery Plan
25
     following the conference of counsel required by Federal Rule of Civil Procedure
26
     (FRCP) 16(b) and 26(f), Local Rule 26-1, and the Order setting a Scheduling
27
     Conference [Dkt. 46].
28
                                        -1-
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 2 of 14 Page ID #:753



 1
     I.       SUBJECT MATTER JURISDICTION
 2
              Plaintiff’s Statement:
 3
              Plaintiff’s claims arise under California state law. This Court has diversity
 4
     jurisdiction over the parties pursuant to 28 U.S.C. §§ 1332(a).
 5
              Defendant’s Statement:
 6
              Defendants dispute this Court has jurisdiction and Defendant’s dispute that this
 7
     controversy exceeds the jurisdictional value of $75,000.
 8
     II.      BRIEF STATEMENT OF THE CASE AND THE PRINCIPAL FACTUAL
 9            ISSUES IN DISPUTE
10            This action is at issue. Plaintiff alleges that in or around 2018 and 2019
11   Defendants published on their website and social media an article titled “The Douche of
12   Wall Street” that accused Plaintiff of “taking money from people over the internet
13   through elaborate, hyped-up schemes,” “creating a pyramid scheme of scams,”
14   “[stealing] content from free Discord servers and post[ing] it in [Plaintiff’s] paid
15   Discord [platform],” and committing business fraud. Plaintiff has alleged the
16   publications as exhibits to the operative First Amended Complaint. Plaintiff avers that
17   these publications remain live on the Internet and viewable worldwide to the public.
18            Plaintiff alleges three California state claims for defamation per se, defamation
19   per quod, and unfair competition under Business & Professions Code § 17200, et seq.
20            Defendants deny these allegations and assert various affirmative defenses.
21   Defendants deny that the alleged defamatory statements were false, or that they are
22   statements of fact (they are statements of opinion). Defendants assert that the statements
23   are of public concern and interest. Defendants also assert that Plaintiff did not suffer
24   damages proximately caused by the alleged defamatory statements.
25            A.    Plaintiff’s contention of the principal factual issues
26            Plaintiff believes litigation of his case will involve determination of the
27   following: (1) whether Defendants published the alleged defamatory statements at issue,
28
                                            -2-
           JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 3 of 14 Page ID #:754



 1
     (2) whether Defendants’ publications were objectively false when made, (3) whether
 2
     Defendants had any evidentiary support for their publications at the time they made
 3
     them, (4) the identities of those witnesses to Defendants’ publications and whether they
 4
     reasonably understood they were about Plaintiff, (5) Plaintiff’s actual damages for the
 5
     harm done to Plaintiff’s business, trade and/or occupation, expenses plaintiff had to pay
 6
     as a result of the defamatory statements, harm to plaintiff’s reputation, damages for
 7
     Plaintiff’s shame, mortification, and/or hurt feelings, and (6) whether Defendants’
 8
     publications factually caused the damage to Plaintiff.
 9
           B.     Defendants’ contention of the principal factual issues
10
           The majority of the facts alleged in Plaintiff’s Amended Complaint are
11
     completely made-up falsehoods. Some of the conduct Plaintiff alleges in the pleadings
12
     against Defendants is actually conduct that Plaintiff himself did to Defendant Kyle
13
     Oreffice, not vice versa, as Plaintiff alleges. Given the grave factual falsehoods alleged
14
     in the pleadings, there are substantial factual issues in this action.
15
           Defendant Give Back Media denies having any relation to this action or the
16
     allegations in this action, denies being in the same field or industry as Plaintiff, denies
17
     being a competitor in any way with Plaintiff or any of Plaintiff’s purported
18
     stock/trading advice businesses, and denies any conduct whatsoever having to do with
19
     the facts alleged in this action. Defendants contend that Plaintiff cannot show that Give
20
     Back Media is a proper party in this case.
21
           Defendants both deny writing the alleged defamatory statements and/or Blog
22
     Post, deny publishing the statements and/or Blog Post anywhere, deny making any
23
     communications to Plaintiff’s customers, friends, followers, family, etc., deny creating,
24
     running, managing, and/or communicating through any social media accounts
25
     (including the social media accounts identified in the pleadings) concerning or
26
     referencing Plaintiff, and denies that any of their acts caused Plaintiff any harm, injury,
27
     or damages. Plaintiff cannot show that the alleged defamatory statements harmed
28
                                        -3-
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 4 of 14 Page ID #:755



 1
     Plaintiff or caused any injury or damages alleged. Defendants contend that Plaintiff
 2
     cannot show that its business or reputation was harmed as a result of any conduct by
 3
     Defendants or as a result of the publication of the alleged defamatory statements,
 4
     especially given Plaintiff’s widespread poor reputation at the time and prior to the
 5
     publication of the alleged defamatory statements, the widespread media coverage of
 6
     Plaintiff’s poor reputation, history of running multiple business scams, and victim
 7
     testimony, including in the world’s most renowned news source, The New York Times.
 8
     Defendants contend that Plaintiff comes to the Court with unclean hands because
 9
     amongst other things, Plaintiff did the very conduct it alleges against Defendants.
10
            Defendants contend that the statements at issue in this case are statements of
11
     opinion (not fact), and are true (not false.) Defendants contend that the statements are of
12
     public concern and interest. Defendants also contend that all of the statements are well
13
     supported by witness testimony, research, and investigation.
14
            Defendants contend that Plaintiff is a public figure or limited public figure and
15
     cannot prove malice.
16
     III.   BRIEF STATEMENT OF THE DISPUTED POINTS OF LAW
17
            California statutory and common law will govern Plaintiff’s claims and
18
     Defendants’ affirmative defenses. The parties dispute the following legal questions:
19
            (1)   Whether the alleged publications about Plaintiff are actionable statements
20
     of fact, and, if so, whether they are defamation per se or defamation per quod;
21
            (2)   Whether Defendants used reasonable care to determine the truth or falsity
22
     of their alleged statements;
23
            (3)   Whether Plaintiff is a general or limited purpose public figure;
24
            (4)   Whether the alleged publications about Plaintiff involved matters of public
25
     concern;
26
            (5)   If Plaintiff is a general or limited purpose public figure or the alleged
27
     publications about Plaintiff involved matters of public concern, did Defendants act with
28
                                         -4-
        JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 5 of 14 Page ID #:756



 1
     requisite malice in making the publications; and
 2
             (6)   Whether the alleged publications about Plaintiff were legally privileged
 3
     when made.
 4
             (7)   Whether the alleged defamatory statements caused harm to Plaintiff and
 5
     whether Plaintiff’s alleged damages were caused by the alleged harm.
 6
             (8)   Whether Plaintiff comes to Court with unclean hands.
 7
     IV.     RELIEF SOUGHT BY PLAINTIFF
 8
             Plaintiff seeks compensatory damages of no less than $1,000,000, in an exact
 9
     amount to be proven at trial. Plaintiff seeks assumed damages on his defamation
10
     claims, in an exact amount to be awarded at trial, and damages for harm to Plaintiff’s
11
     business, trade and/or occupation, expenses plaintiff had to pay as a result of the
12
     defamatory statements, harm to plaintiff’s reputation, damages for Plaintiff’s shame,
13
     mortification, and/or hurt feelings. Plaintiff also seeks injunctive relief under his unfair
14
     competition claim enjoining and restraining Defendants and their respective agents,
15
     servants, employees, successors and assigns, and all other persons acting in concert
16
     with, in conspiracy with, or affiliated with Defendants, from making further false and/or
17
     defamatory statements about Plaintiff. Plaintiff also seeks costs, damages and/or
18
     injunctive relief for corrective advertising or publications to members of the public
19
     through the Internet and on social media platforms.
20
     V.      NOT COMPLEX LITIGATION
21
             The parties do not contemplate this case to invoke any part of the Complex
22
     Litigation Manual; thus, the parties do not propose any modifications of the procedures
23
     set forth in that manual for this particular action.
24
     VI.     CURRENT LAW AND MOTION ACTIVITY
25
             There are no pending motions.
26
     VII. THE POSSIBLE ADDITION OR DISMISSAL OF PARTIES, CLAIMS,
27        OR DEFENSES
28
                                           -5-
          JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 6 of 14 Page ID #:757



 1
             The parties do not expect at this time to amend their pleadings or add or dismiss
 2
     parties, claims or defenses.
 3
     VIII. RELATED CASES OR PROCEEDINGS
 4
             There are no related cases or proceedings.
 5
     IX.     TRIAL ESTIMATE
 6
             The parties expect to submit the case to a jury trial, and for trial to last four to six
 7
     days. The parties propose the Final Pretrial Conference occur on May 10, 2022 and that
 8
     Trial commence on June 7, 2022.
 9
     X.      SETTLEMENT
10
             In 2020, the parties’ counsel briefly discussed settlement at the outset of this case,
11
     but neither party has communicated any offer or demand to the other side. Counsel
12
     have not discussed settlement in 2021. The parties agree to submit this case to the
13
     Court’s ADR Procedure No. 2: mediation before a neutral selected from the Court’s
14
     Mediation Panel. The parties propose attendance at mediation sometime in February
15
     2022 and a Settlement Conference Completion Date of March 8, 2022.
16
     XI.     DISPOSITIVE MOTIONS
17
             Plaintiff does not expect at this time to file a motion for full or partial summary
18
     judgment.
19
             Defendants expect to file a full or partial motion for summary judgment after
20
     discovery is completed.
21
             The parties propose a dispositive motion cut-off date of February 8, 2022.
22
             Plaintiff’s statement as to issues he believes may be determined by motion.
23
             Plaintiff believes the following fact and law questions may be amenable to
24
     adjudication on motion: (1) whether Defendants published the alleged defamatory
25
     statements at issue, (2) whether Defendants’ publications were objectively true when
26
     made, (3) whether Defendants had any evidentiary support for their publications at the
27
     time they made them, (4) whether Defendants used reasonable care to determine the
28
                                           -6-
          JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 7 of 14 Page ID #:758



 1
     truth or falsity of their alleged statements, (5) whether Defendants’ publications
 2
     factually caused the Plaintiff’s actual damages, (6) whether the alleged publications
 3
     about Plaintiff are actionable statements of fact, and, if so, whether they are defamation
 4
     per se or defamation per quod, (7) whether Plaintiff is a general or limited purpose
 5
     public figure, (8) whether the alleged publications about Plaintiff involved matters of
 6
     public concern, (9) if Plaintiff is a general or limited purpose public figure or the
 7
     alleged publications about Plaintiff involved matters of public concern, whether
 8
     Defendants acted with requisite malice in making the publications, and/or (10) whether
 9
     the alleged publications about Plaintiff were legally privileged when made.
10
           Defendants’ statement as to issues they believe may be determined by
11         motion.
12         In addition to the above, Defendants add the following: whether the proper
13   parties were sued in this action; and whether Plaintiff comes to Court with unclean
14   hands.
15   XII. NO CONSENT TO MAGISTRATE ADJUDICATION
16         At this time the parties do not consent to have a Magistrate Judge from the
17   Court’s Voluntary Consent List preside over this action for all purposes, including trial.
18   XIII. SEVERANCE, BIFURCATION, OR OTHER ORDERING OF PROOF
19         The parties do not expect to seek severance of any claims or defenses; nor do
20   they anticipate making requests for particular ordering of proof at trial. Defendants may
21   seek bifurcation of the liability and damages phases at trial.
22
   XIV. OTHER ISSUES AFFECTING THE STATUS OR MANAGEMENT OF
23      THE CASE
24         The parties do not anticipate at this time that the action will involve any unusual
25   legal issues.
26   XV. DISCOVERY ACTIVITY AND THE PARTIES’ DISCOVERY PLAN
27         The parties have not completed any discovery activities at this time. On
28   September 1, 2021, Defendants propounded a first set of Requests for Production of
                                        -7-
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 8 of 14 Page ID #:759



 1
     Documents. Plaintiff has not served responses yet. The parties expect to propound on
 2
     each other at least one set each of interrogatories, requests for production of documents,
 3
     and requests for admission. The parties expect to depose each other. Plaintiff expects
 4
     to also depose witnesses disclosed by Defendants as alleged victims of fraud by
 5
     Plaintiff. Defendants expect to depose witnesses disclosed by Plaintiff, witnesses and
 6
     victims of Plaintiff's scams and fraudulent businesses, and witnesses who were also
 7
     accused by Plaintiff of the same damages alleged in this action.
 8
             At this time Plaintiff anticipates that he will call an information technology
 9
     and/or digital forensic expert(s) concerning Defendant’s online and social media
10
     publications at issue in this action. Plaintiff may also retain and call an expert at trial on
11
     the subject of Plaintiff’s actual damages.
12
             Defendants anticipate calling an expert at trial on the subject of business scams
13
     and pyramid schemes.
14
             A.      What changes should be made in the timing, form, or requirement for
15
     disclosures under Rule 26(a), including a statement of when initial disclosures
16
     were made or will be made.
17
             The parties will make their initial disclosures by the deadline of September 17,
18
     2021.
19
             B.      The subjects on which discovery may be needed, when discovery
20
     should be completed, and whether discovery should be conducted in phases or be
21
     limited to or focused on particular issues.
22
             The parties expect to complete their written discovery and non-expert depositions
23
     by February 1, 2022, and any expert depositions by early April of 2022. The parties
24
     expect to make their expert witness disclosures under FRCP 26(a)(2) by March 8, 2022.
25
             Plaintiff expects to conduct discovery on at least the following topics:
26
                  • The nature and conduct of Defendants’ business and their work as
27
                     “Quantum Stocks” or “Quantum Stock Trading” and through the website
28
                                        -8-
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 9 of 14 Page ID #:760



 1
               www.quantumstocktrading.com;
 2
            • Defendants’ publication of the alleged defamatory posts;
 3
            • The falsity of the statements of fact in Defendants’ alleged posts;
 4
            • Defendants’ removal of the alleged posts from the Internet and social
 5
               media, and Defendants’ reasons for the removal;
 6
            • Defendants’ intention and motives behind allegedly making the posts;
 7
            • The identities of witnesses to Defendants’ alleged posts and their
 8
               understanding of the meaning of the posts;
 9
            • Defendants’ communications with third parties about Plaintiff and his
10
               business; and
11
            • The facts, witnesses and documents that support Defendants’ affirmative
12
               defenses.
13
         Defendants expect to conduct discovery on at least the following topics:
14
            • The truth of each statement in the Blog Post at issue in this action
15
               including without limitation whether Plaintiff’s businesses are a scam or a
16
               pyramid scheme, whether Plaintiff has a history of taking money from
17
               people on the Internet, whether Plaintiff overcharges customers, and
18
               whether Plaintiff charges customers for content taken from free Discord
19
               Servers;
20
            • The identities of customers that Plaintiff allegedly lost and/or did not hire
21
               Plaintiff as a result of the Blog Post and/or Defendants’ alleged
22
               communications;
23
            • Plaintiff’s lost sales and lost business as a result of the Blog Post and/or
24
               Defendants’ alleged communications;
25
            • The identity of persons who allegedly received communications from
26
               Defendants concerning Plaintiff and/or the Blog Post at issue in this action;
27
            • Plaintiff’s public figure or limited public figure status;
28
                                      -9-
     JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 10 of 14 Page ID #:761



 1
                • Plaintiff’s reputation prior to and after the Blog Post was published;
 2
                • Plaintiff’s alleged damages;
 3
                • Plaintiff’s other claims and allegations against third parties for the same
 4
                   injury and damages asserted in this action against Defendants.
 5
           C.      Any issues about disclosure, discovery, or preservation of
 6
     electronically stored information, including the form or forms in which it should
 7
     be produced.
 8
           Plaintiff and his counsel’s recent searches for “The Douche of Wall Street” post
 9
     at https://www.quantumstocktrading.com/aryascam/ and
10
     https://www.instagram.com/aryascam/ have disclosed that the entire webpage and
11
     Instagram account have been removed and are apparently no longer visible. Defense
12
     counsel did not inform Plaintiff’s counsel of this fact. If Defendants removed the
13
     publications and will neither voluntarily provide copies of the webpage or Instagram
14
     account posts, nor admit to posting the alleged defamatory publication—
15
     notwithstanding Defendants’ prior contrary position taken in their Motion to Strike
16
     Plaintiff’s Complaint Pursuant to California Code of Civil Procedure § 425.16 [Doc.
17
     #26, 03:20-04:11; see also Defendants’ Motion to Dismiss, Doc. #37-1, 02:22-03:11]—
18
     then Plaintiff will conduct a digital audit and may need to subpoena third parties to
19
     uncover information about the webpage and Instagram account. Given the removal of
20
     the alleged offending publications, Plaintiff anticipates a discovery fight between the
21
     parties concerning Defendants’ concession whether he published the publications.
22
           Defendants do not anticipate issues obtaining the alleged defamatory statements
23
     at issue in this case because Plaintiff included copies of the Blog Post that contains the
24
     alleged defamatory statements to its Complaint and Amended Complaint. The Quantum
25
     Stocks website has not been in business since 2019 and the website itself expired due to
26
     lack of monetary resources. Defendants do not anticipate any “discovery fights” with
27
     Plaintiff or any need for “digital audits.”
28
                                        - 10 -
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 11 of 14 Page ID #:762



 1
           Defendants do not anticipate any issues with the “@aryascam” Instagram account
 2
     https://www.instagram.com/aryascam/ because Defendants did not start this Instagram
 3
     account, never managed, ran, accessed, or controlled this account, and Defendants do
 4
     not know who created this account, or who managed this account. Defendants had no
 5
     control or knowledge of the removal of this Instagram account. Any discovery
 6
     pertaining to this Instagram account that Plaintiff seeks can be obtained through a third-
 7
     party subpoena to Instagram.
 8
           D.     Any issues about claims of privilege or of protection as trial-
 9
     preparation materials, including—if the parties agree on a procedure to assert
10
     these claims after production—whether to ask the court to include their agreement
11
     in an order under Federal Rule of Evidence 502.
12
           The parties do not at this time see any issues concerning claims of privilege in
13
     attorney-client communications or attorney work product.
14
           E.     What changes should be made in the limitations on discovery imposed
15
     under the FRCP or by Local Rule, and what other limitations should be imposed.
16
           At this time the parties do not anticipate making any proposed modifications of
17
     the FRCP or Local Rules concerning discovery procedures. The parties also do not
18
     anticipate any unusual legal issues in this case, and therefore do not think discovery
19
     needs to be conducted in phases or only as to certain issues.
20
           F.     Any other orders that the court should issue under Rule 26(c) or under
21
     Rule 16(b) and (c).
22
           Plaintiff’s position:
23
           The parties do not believe at this time that the Court should make any orders
24
     under FRCP 26(c) or under FRCP 16(b) and (c). However, in Plaintiff’s opinion,
25
     Defendants’ requests for production of documents to Plaintiff contain a number of
26
     demands for information, including the following, which Plaintiff believes either ask for
27
     irrelevant information; are outside the scope of discovery; are disproportional to the
28
                                        - 11 -
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 12 of 14 Page ID #:763



 1
     needs of the case considering the importance of the issues at stake in the action, the
 2
     amount in controversy, the parties’ relative access to relevant information, the parties’
 3
     resources, the importance of the discovery in resolving the issues, and whether the
 4
     burden or expense of the proposed discovery outweighs its likely benefit; will violate
 5
     the privacy rights of Plaintiff or his customers if complied with; and/or call for the
 6
     production of Plaintiff’s trade secrets and confidential or proprietary information:
 7
               • the identities of Plaintiff’s customers, their contact information, and their
 8
                  payments to Plaintiff for his services;
 9
               • Plaintiff’s business model relating to stock advice services;
10
               • Plaintiff’s monthly revenue and profits made from his stock advice
11
                  services;
12
               • Plaintiff’s profit and loss statements;
13
               • all documents concerning any lawsuit, action, claim, charge, assertion,
14
                  allegation, or arbitration proceeding brought by or against Plaintiff
15
                  involving claims for defamation and/or unfair competition;
16
               • Plaintiff’s demand letters, cease and desist letters, and other
17
                  communications he has caused to be sent since 2015 asserting claims
18
                  against others for defamation, unfair business practices and/or unfair
19
                  competition, and all subsequent responses to those communications;
20
               • all of Plaintiff’s social media posts from any personal and business
21
                  accounts from 2016 to the present; and,
22
               • all of Plaintiff’s all communications and documents with The New York
23
                  Times, Huffington Post, and Business Insider relating to articles they have
24
                  published about Plaintiff.
25
           The parties will meet and confer in good faith to address Plaintiff’s concerns and
26
     seek to avoid having to litigate discovery motions, but Defendants’ insistence on
27
     production of certain information may necessitate the filing of a motion for a protective
28
                                        - 12 -
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 13 of 14 Page ID #:764



 1
     order.
 2
              Defendants’ position:
 3
              Defendants do not believe the Court should address or consider any premature
 4
     discovery issues that Plaintiff raises herein concerning Defendants’ first set of Requests
 5
     for Production of Documents, recently served, which Plaintiff has not formally
 6
     responded to or objected to, and which the parties did not meet and confer as to any
 7
     disputes. Defendants also anticipate filing a motion for a protective order.
 8

 9    Dated: September 9, 2021                         WEINBERG GONSER LLP
10
                                                        /s/ Shanen R. Prout
11                                                  By: ____________________
12
                                                        Lee M. Weinberg
                                                        Shanen R. Prout
13                                                      Bryan B. Bitzer
14                                                      Attorneys for plaintiff Arya Toufanian

15    Dated: September 9, 2021                         TAULER SMITH LLP
16
                                                        /s/ Robert Tauler
17                                                  By: __________________
18                                                       Robert Tauler
                                                         Valerie Saryan
19                                                       Attorneys for defendants Kyle
20                                                       Oreffice and Give Back Media, LLC

21
     Pursuant to L.R. 5-4.3.4(a)(2)(i), the e-filer of this document hereby attests that all other
22
     signatories listed, on whose behalf this stipulation is submitted, concur in the filing’s
23
     content and have authorized the filing.
24

25

26
27

28
                                        - 13 -
       JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT AND DISCOVERY PLAN
 Case 2:19-cv-07934-DMG-SS Document 47 Filed 09/09/21 Page 14 of 14 Page ID #:765


1    Case No. 2:19−cv−07934−DMG(SSx) Case
                                     Name:                            Arya Toufanian v. Kyle Oreffice, et al.
2
3                             MATTER                           JOINT REQUESTED DATE or                   TIME
                                                                PLNTF/DEFT REQUESTED
4                                                                       DATE

     TRIAL     [ ] Court [ X ] Jury                            June 7, 2022                                8:30 a.m.
5
                                                                                     3
     Duration Estimate: 4-6 days                                         (Tuesday)
6
     FINAL PRETRIAL CONFERENCE (“FPTC”)                        May 10, 2022                                2:00 p.m.
7
     4 wks before trial                                                  (Tuesday)
8

9                             MATTER                               TIME COMPUTATION            JOINT REQUESTED
                                                                                                    DATE or
10                                                                                                PLNTF/DEFT
                                                                                               REQUESTED DATE
11                                                                                             December 24, 2021
     Amended Pleadings and Addition of Parties Cut-Off         90 days after scheduling
12   (includes hearing of motions to amend)                    conf

     Non-Expert Discovery Cut-Off                                                              February 1, 2022
13                                                                at least 14 wks before
     (includes hearing of discovery motions)                      FPTC
14   Motion Cut-Off (filing deadline)                             at least 13 wks before
                                                                                               February 8, 2022
                                                                  FPTC
15                                                                                             March 8, 2022
     Initial Expert Disclosure & Report Deadline                  at least 9 wks before
16                                                                FPTC
     Rebuttal Expert Disclosure & Report Deadline                                              April 5, 2022
                                                                  at least 5 wks before
17                                                                FPTC
                                                                                               April 19, 2022
18   Expert Discovery Cut-Off (includes hearing of discovery      at least 3 wks before
     motions)                                                     FPTC
19                                                                                             April 12, 2022
     Settlement Conference Completion Date                        at least 4 wks before
                                                                  FPTC
20
     Motions in Limine Filing Deadline                                                         April 19, 2022
                                                                  at least 3 wks before
21                                                                FPTC
22   Opposition to Motion in Limine Filing Deadline                                            April 26, 2022
                                                                  at least 2 wks before FPTC
     Other Dates: (e.g., class cert motion cut-off, early                                      None
23
     mediation, etc.)



                                                      EXHIBIT A
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28         3
            Trials commence on Tuesdays. Final pretrial conferences are held on Tuesdays.
